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                                         UNITED STATES DISTRICT COURT
                                                 WESTERN DISTRICT OF WASHINGTON
                                                        OFFICE OF THE CLERK
                                                  U.S. COURTHOUSE, LOBBY LEVEL
                                                        700 STEWART STREET
                                                   SEATTLE, WASHINGTON 98101
                                                            (206) 370-8400

   RAVI SUBRAMANIAN                                                                            ERIC L. SMITS
      District Court                                                                          Chief Deputy Clerk
    Executive Clerk of
          Court



                                  INSTRUCTIONS FOR COMPLETION OF
                            APPLICATION FOR LEAVE TO APPEAR PRO HAC VICE

        Pursuant to LCR 83.1(d) – Permission to Participate in a Particular Case

        PDF Reader such as Adobe Acrobat or similar software is required for filing.

        Pro Hac Vice Attorney Applicant:

             •   Obtain local counsel (see local counsel requirements below).

             •   Complete the applicant portion of the Application for Leave to Appear Pro Hac Vice,
                 which includes the Electronic Case Filing (ECF) Agreement and agree that said
                 applicant knows and will comply with all applicable local rules, which includes
                 knowing that local counsel must sign all filings.

             •   Upon completion of Pro Hac Vice applicant’s portion, route to local counsel who
                 completes the Statement of Local Counsel section of the application, electronically
                 files the completed Application for Leave to Appear Pro Hac Vice and pays the $238
                 fee.

             •   Register for access to the Western District of Washington through pacer.gov as
                 directed on the Pro Hac Vice page (see Pro Hac Vice Application Guide).

             •   Note: A Certificate of Good Standing is not required for Pro Hac Vice appearance in
                 the Western District of Washington.


        Local Counsel:

             •   Must be admitted to practice before this Court.

             •   Have a physical office within the geographical boundaries of the Western District of
                 Washington.

             •   Be a party to the case or have filed a Notice of Appearance in the same case as the
                 Pro Hac Vice applicant wants to represent.

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    •   Complete the Statement of Local Counsel, which includes the condition that local
        counsel will agree to sign all filings and be prepared to handle the matter, including
        the trial, in the event the applicant is unable to be present on any date scheduled by
        the court, pursuant to LCR 83.1(d).

    •   Electronically file the completed application (either Civil or Criminal), under Other
        Documents, then select Application for Leave to Appear Pro Hac Vice. The
        system will prompt you to attach the saved PDF and pay the required $238 fee on-
        line via Pay.gov, using a debit or credit card. Complete the pay.gov screens and
        follow all prompts until the Application for Leave to Appear Pro Hac Vice is filed, and
        confirmation is received.

The Court:

    •   The court will review applications and upon approval docket an Order in the case.

Questions regarding Pro Hac Vice applications:

        Jesse Curry 206-370-8439
        WAWD_Admissions@wawd.uscourts.gov.

Questions regarding Electronic Case Filing (ECF)

        ECF Help Desk 1-866-323-9293




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                                        United States District Court
                                       Western District of Washington




QUINTE HARRIS                                                 Case Number:

 Plaintiff(s)                                                 APPLICATION FOR LEAVE TO APPEAR
                                                              PRO HAC VICE
 V.



SKANSKA, BALFOUR BEATTY
JV,  MICROSOFT
 Defendant(s)
CORPORATION, and BALFOUR
Pursuant to LCR 83.1(d) of the United States District Court for the Western District of Washington,
BEATTY CONSTRUCTION,
Caroline Janzen                              hereby applies for permission to appear and participate as
counsel in the above entitled action on behalf of the following party or parties:

 Plaintiff Quinte Harris

The particular need for my appearance and participation is:

I represent Mr. Harris and am intimately familiar with his case and the
evidence in this case. Mr. Harris wishes for me to be his counsel.

I,                                                 understand that I am charged with knowing and complying with
all applicable local rules;

I have not been disbarred or formally censured by a court of record or by a state bar association; and there are
not disciplinary proceedings against me.

I declare under penalty of perjury that the foregoing is true and correct.



Date: 4/25/22                                      Signature of Applicant: s/   Caroline Janzen


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Pro Hac Vice Attorney

Applicant's Name:

Law Firm Name:                    Janzen Legal Services, LLC
Street Address 1:                 4550 SW Hall Blvd.
Address Line 2:

City: Beaverton                                       State: Oregon         Zip:   97005
Phone Number w/ Area Code       (503)520-9900    Bar # 176233                                State   Oregon
Primary E-mail Address:      caroline@ruggedlaw.com
(Primary E-Mail address must be for the Pro Hac attorney and not any subordinate or staff member)

Secondary E-mail Address:       jls@ruggedlaw.com


                                       STATEMENT OF LOCAL COUNSEL

I am authorized and will be prepared to handle this matter, including trial, in the event the
applicant                                                                   is unable to be present upon any date
assigned by the court.

Date: 4/25/22                     Signature of Local Counsel: s/ John Cochran

Local Counsel's Name:             John Cochran
Law Firm Name:                    Pacific Property Law LLC
Street Address 1:                 1367 North Falcon Drive
Address Line 2:

City:Ridgefield                                       State:WA              Zip:   98642
Phone Number w/ Area Code360-601-8157                             Bar #   38909




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                               Electronic Case Filing Agreement




 By submitting this form, the undersigned understands and agrees to the following:

1. The CM/ECF system is to be used for filing and reviewing electronic documents, docket sheets, and
   notices.

2. The PACER password combined with your login, serves as your signature under Federal Rule of Civil
   Procedure 11 and 5(d)(3)(C). Therefore, you are responsible for protecting and securing this password
   against unauthorized use.

3. If you have any reason to suspect that your password has been compromised in any way, you are
   responsible for immediately notifying the court. Court staff will assess the risk and advise accordingly.

4. By signing this Registration Form, you consent to receive notice electronically and waive your right to
   receive notice by personal service or first-class mail pursuant to Federal Rule of Civil Procedure
   5(b)(2)(C), except with regard to service of a complaint and summons. This provision does include
   electronic notice of the entry of an order or judgment.

5. You will continue to access court information via the Western District of Washington's internet site or
   through the Public Access to Court Electronic Records (PACER) system. After January 27,2020, a PACER
   login and password, will be required to electronically file. You can register for PACER access at their web
   site: www.pacer.gov.

6. By completion of this registration, the undersigned agrees to abide by the rules and regulations in the
   most recent General Order, the Electronic Filing Procedures developed by the Clerk's Office, and any
   changes or additions that may be made to such administrative procedures in the future.


 Date Signed 4/25/22                Signature s/
                                                      (Pro Hac Vice applicant name)




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